Case 2:05-Cr-20075-BBD Document 49 Filed 06/13/05 Page 1 of 2 Page|D 53

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FoR THE wEsTERN DISTRICT oF TENNESSEE
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Plaintiff,
vs. CR. NO. 05-20075-Ma
RITA WILLIAMSON,

RONALD HUGHES,
MARIO PARSON,

~.-_.__,...,~_._,~._,~`_.¢-._,~_-_._,`._,~_,

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period frmm May 31, 2005 through August l2, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

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This notice confirms a copy of the document docketed as number 49 in
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Honorable Samuel Mays
US DISTRICT COURT

